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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Criminal No. 21-cr-399 (RDM)
                                              :
ROMAN STERLINGOV,                             :
                                              :
                       Defendant.             :

       SUMMARY OF QUALIFICATIONS AND EXPECTED TESTIMONY FOR
                    GOVERNMENT TRANSLATORS

       The government intends to admit at trial numerous documents that were written in foreign

languages, including Swedish, Russian, and Romanian. In particular, the defendant wrote

extensive notes to himself, both handwritten and in text documents saved to his devices and

accounts. These notes transition with varying frequency between the numerous languages that the

defendant speaks, particularly English, Swedish, and Russian. The evidence also includes

recordings of the defendant’s conversations from jail, and records that originated from providers

in foreign countries. Due to the multiple languages involved, the volume of translations, and the

length of the investigation, the translations have been completed by multiple translators.

       The government has provided the original records to defense counsel in discovery, and has

provided some official translations, some machine translations, and some translation summaries.

The government is producing another significant batch of official translations contemporaneous

with this filing. In some instances, the defendant used specific jargon or terms, such as the term

“irrigation,” when referring to his activities, which is noted by the translators. Including the most

recent production, the government has produced the bulk of the translations of the documents that

the government intends to admit at trial. The government anticipates that, in developing its

intended trial exhibits, it may identify a relatively small number of additional documents or lines
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of text that require translation. These translations will be provided to the defense as they are

available and in advance of trial.

       The government is committed to working with defense counsel to resolve any disputes

regarding translations in advance of trial and hopes to be able to stipulate to the bulk of the

translations in order to streamline the proceedings. If stipulations cannot be reached, the

government will be calling multiple translators at trial to testify regarding their translations of

documents and records in this matter. Each translator has been employed by or contracted with

the U.S. Government and has language training and experience in translating documents for court

purposes. The translators’ testimony will be based on their command of the language and their

training and experience in working as a translator. The translations will assist the jury in

understanding the underlying texts or conversations, which are written or spoken in languages that

would not otherwise be understood by most U.S. jurors.

       The particular translators, if any, needed for trial will depend on which translations are

covered by stipulations and which, if any, are contested. The Advisory Committee’s Note to the

2022 Amendment to Rule 16 recognizes, “on occasion, with respect to an expert witness whose

identity is not critical to the opposing party’s ability to prepare for trial, the party who wishes to

call the expert may be able to provide a complete statement of the expert’s opinions, bases and

reasons for them, but may not be able to provide the witness’s identity until a date closer to trial.

In such circumstances, the party who wishes to call the expert may seek an order modifying

discovery under Rule 16(d).” Fed. R. Crim. Pro. 16 advisory committee’s note to 2022

amendment. Consistent with this provision and to the extent necessary, the government

respectfully asks for leave of court to provide the identity of the needed translators to defense

counsel and the court once the contested translations are identified.
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                             Respectfully submitted,
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